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                                                                   2018 Jul-20 PM 03:51
                                                                  U.S. DISTRICT COURT
                                                                      N.D. OF ALABAMA




EXHIBIT
  A
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 1   BELT & BRUNER PC
 2
     KEITH BELT, JR. (ASB-6843-T79-K)
     keithb@beltlawfirm
 3   880 Montclair Road, Suite 300
 4   Birmingham, AL 35213
     Phone: (205) 564-6157
 5   Fax: (205) 933-5500
 6
     Attorneys for Plaintiff Clare Thomas
 7

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 9
                              UNITED STATES DISTRICT COURT
10

11                           NORTHERN DISTRICT OF ALABAMA

12
     CLARE THOMAS,                  )              Case No. 2:18-cv-00468-RDP
13               Plaintiff,         )
14   vs.                            )              Assigned to the Hon. R. David Proctor
                                    )
15   T-MOBILE, USA, INC., STEPHANIE )              DECLARATION OF ARCHIBALD
16   HART, and DOES 1 through 100,  )              M. SMITH, IV
                    Defendants.     )
17                                  )              Complaint filed: March 26, 2018
18                                  )
                                    )
19                                  )
20

21   I, Archibald M. Smith, IV, declare as follows:
22         1.     I am an attorney at law duly admitted to practice before all Courts of the
23   States of California and Hawaii. I represent the Plaintiff, Clare Thomas, in relation to the
24   above-captioned matter. However, I am not admitted to practice before any Court of the
25   State of Alabama, including the instant Court. I make this declaration based on my own
26   personal knowledge and, if called as a witness, I could and would testify competently to
27   the facts contained herein.
28   ///
                                                    1
                                   DECLARATION OF ARCHIBALD M. SMITH, IV
            Case 2:18-cv-00468-RDP Document 18-1 Filed 07/20/18 Page 3 of 4




 1         2.     On June 2, 2018, I provided an application for my appearance in this matter
 2   pro hac vice to Mrs. Thomas’ local counsel, Stephen Humphreys. Mr. Humphreys
 3   subsequently filed the application on June 11, 2018. It appears on the Court’s docket as
 4   item number 12.
 5         3.     On July 2, 2018, Mr. Humphreys sent an e-mail informing me that the Court
 6   had entered an Order on June 25, 2018 conditionally granting my pro hac vice
 7   application if I provided a certification and payment of $50 by July 2, 2018. I was in
 8   flight from Europe to Los Angeles for nearly the entire day of July 2, 2018 and did not
 9   see Mr. Humphrey’s e-mail or the Court’s Order until July 3, 2018, too late to comply.
10   The pertinent Order appears on the Court’s docket as item number 13.
11         4.     Upon learning of Mr. Humphrey’s failure to timely notify me of the Court’s
12   June 25, 2018 Order, Mrs. Thomas elected to terminate Mr. Humphrey’s services and
13   obtain new local counsel. A termination letter was sent by mail and e-mail to Mr.
14   Humphreys on behalf of Mrs. Thomas on July 6, 2018 with a substitution of attorney
15   form for him to sign and return to us.
16         5.     We have received no further communications or response to our
17   communications from Mr. Humphreys since his July 2, 2018 e-mail informing me of the
18   Court’s June 25, 2018 Order.
19         6.     After the difficulties with Mr. Humphreys, my client and I have worked
20   diligently to secure new local counsel to replace him. Mr. Keith Belt, ASB-6843-T79-K,
21   has agreed to act as local counsel on behalf of Mrs. Thomas.
22         7.     Mr. Humphreys did not notify me of the Court’s July 13, 2018 Order setting
23   a scheduling conference in this matter for 2:30 p.m. on Monday, July 23, 2018 in Judge
24   Proctor’s chambers. This Order appears on the Court’s docket as item number 16.
25         8.     I first learned of the Court’s July 13, 2018 Order through an e-mail from
26   opposing counsel, Mr. Umbach, on July 18, 2018.
27         9.     I have requested that Mr. Belt appear on Plaintiff’s behalf at the July 23,
28   2018 status conference. I am not able to appear in Birmingham on July 23, 2018 and am
                                                2
                               DECLARATION OF ARCHIBALD M. SMITH, IV
            Case 2:18-cv-00468-RDP Document 18-1 Filed 07/20/18 Page 4 of 4




 1   not able to formally appear before this Court as my pro hac vice application has not yet
 2   been fully granted.
 3         10.    I hereby certify to the Court that I have read and understand the local rules
 4   applicable to this District; the Alabama State Bar Code of Professional Courtesy and the
 5   Lawyer’s Creed, and this Court’s CM/ECF requirements. I have asked Mr. Belt’s office
 6   to advance the $50 PHV fee concurrently with the filing of this declaration, which I will
 7   promptly reimburse to them.
 8         11.    In light of the circumstances described above, I respectfully request that the
 9   Court fully grant my pro hac vice application filed by Mr. Humphreys on June 11, 2018,
10   but with Mr. Belt now acting as supervising local counsel. Of course, if the Court
11   requires, I will resubmit my pro hac vice application.
12

13   I declare under penalty of perjury under the laws of the State of Alabama that the
14   foregoing is true and correct.
15

16   Executed on July 19, 2018 in Los Angeles, California.
17

18                                           Respectfully submitted,
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                                             ______________________________
21                                           Archibald M. Smith, IV
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                                DECLARATION OF ARCHIBALD M. SMITH, IV
